
Opinion of the Court, by
Ch. J. Muter.
IT appears by the affidavit of Susanna Allen, the defendant in error, made before Jamison Hawkins, of Boone county, that the said Susanna Allen, at the time she was delivered of a female bastard child, as stated in the affidavit, was an inhabitant of Dearborne county, in the Indiana territory; and that she was delivered of said bastard child at the house of Isaac Allen, in the county and territory aforesaid. This affidavit being the foundation of all the subsequent proceedings, and it appearing clearly from it, that the crime was committed without the jurisdiction of this state, the court of Boone county erred in taking cognizance of it.
Judgment reversed with costs.
